AO 257 (Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION              INDICTMENT                           Name of District Court, and/or Judge/Magistrate Location
                                                           SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                OAKLAND DIVISION
 Counts One, Two, Three: 8 U.S.C. 2243(b)                             Petty

                                                                      Minor              DEFENDANT - U.S
                                                                      Misde-                                                                
                                                                      meanor                Ross Klinger
                                                                                                                                             Jan 28 2022
                                                                      Felony
                                                                                            DISTRICT COURT NUMBER                           -ARK""USBY
PENALTY:      15 years' imprisonment, maximum 3 years' supervised release;                                                              
              $5,000 special assessment, maximum $250,000 fine                                                                          
                                                                                            FU-6:                                  



                                                                                                                      DEFENDANT
                             PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                             1)       If not detained give date any prior
                                      FBI
                                                                                                summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                     2)       Is a Fugitive
       give name of court
                                                                                       3)       Is on Bail or Release from (show District)

                                                                                                                           NDCA
       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                              IS IN CUSTODY
                                                                                       4)       On this charge
       this is a reprosecution of

                                                                                                                                 }
       charges previously dismissed                                                    5)       On another conviction
       which were dismissed on motion                         SHOW                                                                         Federal         State


                                                     }
       of:                                                  DOCKET NO.
                                                                                       6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                 If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                          }
                                                                                                                Yes            If "Yes"
       pending case involving this same                                                     Has detainer
                                                                                                                               give date
       defendant                                           MAGISTRATE                       been filed?         No             filed


                                                     }
                                                            CASE NO.
                                                                                            DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                ARREST
                                                         21-mj-71085
       defendant were recorded under                                                        Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                   DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form              Stephanie M. Hinds                         TO U.S. CUSTODY
                                U.S. Attorney        Other U.S. Agency

Name of Assistant U.S.                                                                           This report amends AO 257 previously submitted
Attorney (if assigned)                      Molly K. Priedeman
                                                    ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*             WARRANT              Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                 * Where defendant previously apprehended on complaint, no new summons or
                                                                               warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                               Date/Time:                                 Before Judge:

        Comments:
 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney                                                               
 2
                                                                                         Jan 28 2022

 3                                                                                      -ARK""USBY
                                                                                    
                                                                                    
 4                                                                                         

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION

11   UNITED STATES OF AMERICA,                        )   CASE NO. FU-6:
                                                      )
12           Plaintiff,                               )
                                                      )   VIOLATIONS:
13      v.                                            )   18 U.S.C. § 2243(b) – Sexual Abuse of a Ward
                                                      )
14   ROSS KLINGER,                                    )
                                                      )
15           Defendant.                               )   OAKLAND VENUE
                                                      )
16
17                                               INFORMATION
18 The United States Attorney Charges:

19                                            Introductory Allegations
20 At all times relevant to the allegations below:

21           1.      The Federal Correctional Institution, Dublin (“FCI Dublin”) was a federal prison in
22 Alameda County, California, within the Northern District of California.

23           2.      The defendant ROSS KLINGER (“KLINGER”) was employed at FCI-Dublin as a
24 correctional officer.

25           3.      Victim 1 was an inmate at FCI Dublin, under the custodial, supervisory, and disciplinary
26 authority of the defendant.
27           4.      Victim 2 was an inmate at FCI Dublin, under the custodial, supervisory, and disciplinary
28 authority of the defendant.


     INFORMATION                                      1
 1          5.     Victim 3 was an inmate at FCI Dublin, under the custodial, supervisory, and disciplinary

 2 authority of the defendant.

 3          6.     The term “sexual act” meant, among other things, contact between the penis and the

 4 vulva. 18 U.S.C. § 2246(2)(C).

 5
                                                 COUNT ONE
 6                                          (Sexual Abuse of a Ward)

 7          7.     Paragraphs 1-6 are incorporated as if set forth here in full.

 8          8.     In approximately the week of September 28, 2020, at FCI Dublin, in the Northern District

 9 of California, the defendant
10                                               ROSS KLINGER

11 knowingly engaged in a sexual act with Victim 1; to wit, he penetrated Victim 1’s vulva with his penis

12 in violation of 18 U.S.C. § 2243(b).

13
                                                COUNT TWO
14                                          (Sexual Abuse of a Ward)

15          9.     Paragraphs 1-6 are incorporated as if set forth here in full.

16          10.    Between approximately June 2020 and September 2020, at FCI Dublin, in the Northern

17 District of California, the defendant

18                                               ROSS KLINGER

19 knowingly engaged in a sexual act with Victim 2; to wit, he penetrated Victim 2’s vulva with his penis,

20 in violation of 18 U.S.C. § 2243(b).

21
                                               COUNT THREE
22                                          (Sexual Abuse of a Ward)

23          11.    Paragraphs 1-6 are incorporated as if set forth here in full.

24          12.    Between approximately March 2020 and June 2020, at FCI Dublin, in the Northern

25 District of California, the defendant

26                                               ROSS KLINGER

27 ///

28 ///


     INFORMATION                                     2
 1 knowingly engaged in a sexual act with Victim 3; to wit, he penetrated Victim 3’s vulva with his penis,

 2 in violation of 18 U.S.C. § 2243(b).

 3

 4 DATED: January 28, 2021__                            STEPHANIE M. HINDS
                                                        United States Attorney
 5

 6                                                        V0ROO\.3ULHGHPDQ
                                                        MOLLY K. PRIEDEMAN
 7                                                      Assistant United States Attorney
 8

 9
10

11

12

13

14

15

16
17

18

19

20

21

22

23

24

25

26
27

28


     INFORMATION                                   3
